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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

NINA AGDAL,
Case No.: 2:23-cv-16873-MCA-MAH
Plaintiff,
¥, CONSENT ORDER GRANTING
LEAVE TO PLAINTIFF TO FILE
DILLON DANIS, SECOND AMENDED COMPLAINT
Defendant.

THIS MATTER, having been brought before the Court by Plaintiff Nina Agdal, by and
through her counsel, Sills Cummis & Gross P.C., with the consent of defendant Dillon Danis, by

and through his counsel Hartmann Doherty Rosa Berman & Bulbulia, LLC, and for good cause

appearing:

IT IS on this is” day of June 2024,

ORDERED THAT:

1, Plaintiff is granted leave, under Rule 15(a}(2), to amend her Amended Complaint;
and

2, Plaintiff shall file her Second Amended Complaint within ten days of receipt of
this Order, SO ORDERED

Michael A. Hammer

Michael A. Hammer, U.S.M.J,

HON, MICHAEL HAMM SMA, 4 /2 024

Consented to by:

SILLS CUMMIS & GROSS P.C. HARTMANN DOHERTY ROSA BERMAN
Attorneys for Plaintiff Nina Agdal & BULBULIA, LLC
Attorneys for Defendant Dillon Danis

By: _/s/ Joseph B. Shumofsky By: _/s/ Mark A, Berman
Joseph B. Shumofsky, Esq. Mark A. Berman, Esq.

